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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   DOUGLAS J. BEEVERS, USVI Bar #766
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   CHRISTOPHER JACKSON
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )            No. CR-S-11-0054 GEB
                                     )
12                  Plaintiff,       )            STIPULATION AND ORDER
                                     )            TO CONTINUE STATUS CONFERENCE
13        v.                         )
                                     )            Date: June 10, 2011
14   CHRISTOPHER JACKSON,            )            Time: 9:00am
                                     )            Judge: Hon. Garland E. Burrell,Jr.
15                  Defendant.       )
                                     )
16   _______________________________ )
17         The parties request that the status conference in this case be
18   continued from May 13, 2011, to June 10, 2011 at 9:00 a.m.                               They
19   stipulate that the time between May 13, 2011 and June 10, 2011 should be
20   excluded from the calculation of time under the Speedy Trial Act.                         The
21   parties stipulate that the ends of justice are served by the Court
22   excluding    such    time,      so   that   counsel   for    the       defendant   may   have
23   reasonable time necessary for effective preparation, taking into account
24   the   exercise      of    due    diligence.     18    U.S.C.       §    3161(h)(7)(B)(iv).
25   Additionally, defense counsel needs time to continue investigating the
26   facts. The parties stipulate and agree that the interests of justice
27   served by granting this continuance outweigh the best interests of the
28   public and the defendant in a speedy trial.                 18 U.S.C. §(7)(B)(iv).
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 1   Dated:    May 11, 2011                 Respectfully submitted,
 2                                          DANIEL J. BRODERICK
                                            Federal Defender
 3
                                            /s/ DOUGLAS BEEVERS
 4                                          DOUGLAS BEEVERS
                                            Assistant Federal Defender
 5                                          Attorney for Defendant
                                            CHRISTOPHER JACKSON
 6
 7   Dated:    May 11, 2011                 BENJAMIN B. WAGNER
                                            United States Attorney
 8
                                            /s/ Matthew Segal
 9                                          MATTHEW SEGAL
                                            Assistant U.S. Attorney
10
11                                        ORDER
12        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
13   ordered that the status conference presently set for May 13, 2011, be
14   continued to June 10, 2011, at 9:00 a.m.      Based on the representation of
15   counsel and good cause appearing therefrom, the Court hereby finds that
16   the ends of justice to be served by granting a continuance outweigh the
17   best interests of the public and the defendant in a speedy trial.       It is
18   ordered that time from the date of this Order, to and including, the June
19   10, 2011, status conference shall be excluded from computation of time
20   within which the trial of this matter must be commenced under the Speedy
21   Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4.
22
     Dated:   May 25, 2011
23
24
                                       GARLAND E. BURRELL, JR.
25                                     United States District Judge

26
27
28


     Stip/Order                             2
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